Case: 1:18-cv-OROTEB SHADES PISTREIGECQSRBAGRTEE PagelD #: 136

DCM FORM NO. 7

 

 

 

 

 

 

NORTHERN DISTRICT OF OHIO 1/1/92
CASE MANAGEMENT CONFERENCE
MINUTE SHEET
CASE MANAGEMENT CONFERENCE HELD BEFORE_ JUDGE DONALD C, NUGENT ON AuGusT 28, 2018
JUDICIAL OFFICER
Monode Marking Products, Inc., CASE NO. 1:18 CV 16
Plaintiffvs),
Vv.
Columbia Marking Tools. Inc.. JUDGE: DONALD C. NUGENT
Defendant(s).
Do YOU CONSENT TO THE JURISDICTION OF A MAGISTRATE JUDGE? YES [| NO x
TRACK DESIGNATION:

Administrative L Expedited L | Standard KI Complex L] Mass Torts LJ

 

CASE REFERRED TO ALTERNATIVE DISPUTE RESOLUTION: YES | NO Xl
IF YES, BY WHICH ADR PROCESSES:

Early Neutral [J Mediation L] Arbitration L] Summary [] Summary L

Evaluation Jury Trial Bench
Trial

ADR PROCESS TO BE COMPLETED BY:

 

 

DISCOVERY TYPE AND EXTENT: Ol pane Onita inn Me wry to toler pee {&t

 

DISCOVERY CUT OFF DATE: 3 | | 4

 

 

MOTIONS CUT OFF DATE: TB »

 

 

 

Length of Proceeding: 15min

 

 

DISTRICT JUDGE() I
